






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. AP-76,206




EX PARTE GEORGE WALLACE HARPER, Applicant




ON APPLICATION FOR A WRIT OF HABEAS CORPUS
CAUSE NO. 06-9-7505 IN THE 24TH DISTRICT COURT
FROM JACKSON COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.
&nbsp;
O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of possession of a
controlled substance and sentenced to ten years’ imprisonment.  He did not appeal his conviction.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applicant contends that his trial counsel rendered ineffective assistance by failing to properly
investigate the punishment range and incorrectly advising Applicant that he may be facing a habitual
range of punishment.  We remanded this application to the trial court for findings of fact and
conclusions of law.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Both trial counsel and the prosecuting attorney filed affidavits with the trial court.  Both
attorneys indicated that they believed Applicant could be facing habitual punishment for this state
jail offense.  However this offense could only be enhanced to second degree felony punishment
range.  State v. Webb, 12 S.W.3d 808 (Tex. Crim. App. 2000). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;After reviewing the entire record, this Court has determined that trial counsel was ineffective
in that counsel failed to properly investigate the punishment range and the law regarding the
enhancement of state jail offenses and that such ineffective representation prejudiced Applicant. 
Applicant is entitled to relief.  Id.; Strickland v. Washington, 466 U.S. 608 (1984).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relief is granted.  The judgment in Cause No. 06-09-7505 in the 24th Judicial District Court
of Jackson County is set aside, and Applicant is remanded to the custody of the sheriff of Jackson
County to answer the charges as set out in the indictment.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Copies of this opinion shall be sent to the Texas Department of Criminal Justice–Correctional
Institutions Division and Pardons and Paroles Division.
Delivered: September 2, 2009
Do Not Publish


